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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLGRIDA

TAMPA DIVISION
KENNETH STOUT, JR.
Plaintiff,
-VS- CASE NO.:

PORTFOLIO RECOVERY ASSOCIATES, ,]URY TRIAL DEMANDED
LLC

Defendant.

_QM
1. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et

seq. (“TCPA”), the Florida Consurner Collection Practices Act, Fla. Stat. §559.55 et seq.

 

 

(“FCCPA”).
JURISDICTION AND VENUE
2. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. §1331.
3. The alleged violations described in the Complaint occurred in Lee County, Florida.
FACTUAL ALLEGATIONS
4. Plaintiff is a natural person, and citizen of the State of Florida, residing in Lee County,
Florida
5. Plaintiff is a “consurner” as defined in Florida Statute 559.55(2).

6. Plaintiff is an “alleged debtor.”
7. Plaintiff is the “called party.” See Soppet v. Enhanced Recoverv Co., LLC, 679 F.3d 637,

643 (7th Cir. 2012), reh'g denied (May 25, 2012).

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8. Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC is a collection agency
operating from an address of 120 Corporate Blvd., Norfolk, VA 23502, and is a “debt collector”
as that term is defined by 15 U.S.C. § 1692a(6).

9. Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC consents of and has
knowledge and control of the collection activities of their agents and representatives, including
supervisors, managers, affiliates, subsidiaries, divisions, employees, servants partners, agents,
vendors, assignees, transferees, collectors and/or contractors for an alleged debt of Plaintiff.

1(). The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(1).

11. PORTFOLIO RECOVERY ASSOCIATES, LLC called the Plaintiff’s cellular telephone
approximately twenty (20) times since October, 2013, in an attempt to collect a debt that was
discharged in bankruptcy.

12. PORTFOLIO RECOVERY ASSOCIATES, LLC was aware that they did not have
expressed consent to call.

13. PORTFOLIO RECOVERY ASSOCIATES, LLC attempted to collect a debt from the
Plaintiff by this campaign of telephone calls.

14. PORTFOLIO RECOVERY ASSOCIATES, LLC was aware that the debt was discharged
in bankruptcy.

15 . PORTFOLIO RECOVERY ASSOCIATES, LLC intentionally harassed and abused
Plaintiff on numerous occasions by calling several times during one day, and on back to back
days, with such frequency as can reasonably be expected to harass.

16. PORTFOLIO RECOVERY ASSOCIATES, LLC intentionally and willfully harassed and
abused Plaintiff by their agents and representatives including attempting to collect on a debt that

was discharged in Plaintifi’ s bankruptcy

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17. PORTFOLIO RECOVERY ASSOCIATES, LLC intentionally and willfully harassed and
abused Plaintiff by their agents and representatives including attempting to collect on a debt that
Plaintiff did not owe.

18. PORTFOLIO RECOVERY ASSOCIATES, LLC intentionally and willfully harassed and
abused Plaintiff by their agents and representatives telling Plaintiff the can and will take
everything Plaintiff owns.

19. On information and belief, the telephone calls were placed using automated telephone
dialing equipment, without human intervention

20. Each call PORTFOLIO RECOVERY ASSOCIATES, LLC made to the Plaintiff was
made using an “automatic telephone dialing system” which has the capacity to store or produce
telephone numbers to be called, using a random or sequential number generator; and to dial such
numbers as specified by 47 U.S.C §227(a)(1).

21. Each call PORTFOLIO RECOVERY ASSOCIATES, LLC made to the Plaintiff’s cell
phone was done so without the “express permission” of the Plaintiff.

22. PORTFOLIO RECOVERY ASSOCIATES, LLC has a corporate policy to use an
automatic telephone dialing system or a pre-recorded or artificial voice to individuals just as they
did to the Plaintiff’ s cellular telephone in this case.

23. PORTFOLIO RECOVERY ASSOCIATES, LLC has a corporate policy to use an
automatic telephone dialing System or a pre-recorded or artificial voice, just as they did to the
Plaintiff s cellular telephone in this case, with no way for the consumer, or PORTFOLIO
RECOVERY ASSOCIATES, LLC, to remove the incorrect number.

24. PORTFOLIO RECOVERY ASSOCIATES, LLC’s corporate policy is structured as to
continue to call individuals like the Plaintiff, despite these individuals explaining to
PORTFOLIO RECOVERY ASSOClATES, LLC that they do not owe the debt.

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25. PORTFOLlO RECOVERY ASSOClATES, LLC has numerous other federal lawsuits
pending against them alleging similar violations as stated in this complaint
26. PORTFOLIO RECOVERY ASSOCIATES, LLC has numerous complaints against them
across the country asserting that their automatic telephone dialing system continues to call the
wrong people.
27. PORTFOLIO RECOVERY ASSOCIATES, LLC has had numerous complaints from
consumers against them across the country asking to not be called, however the Defendant
continues to call.
28. PORTFOLIO RECOVERY ASSOClATES, LLC’s corporate policy provided no means
for the Plaintiff to have his number removed from the call list.
29. PORTFOLIO RECOVERY ASSOClATES, LLC has a corporate policy to harass and
abuse individuals despite actual knowledge that the called parties do not owe the alleged debt.
3(). Plaintiff did not expressly consent to PORTFOLIO RECOVERY ASSOCIATES, LLC’s
placement of telephone calls to Plaintiff s cellular telephone by the use of an automatic telephone
dialing system or a pre-recorded or artificial voice prior to PORTFOLIO RECOVERY
ASSOCIATES, LLC’5 placement of the calls.
31. None of PORTFOLIO RECOVERY ASSOCIATES, LLC’s telephone calls placed to
Plaintiff were for “emergency purposes” as specified in 47 U.S.C. §227(b)(l)(A).
32. PORTFOLIO RECOVERY ASSOCIATES, LLC willfully and/or knowingly violated the
TCPA with respect to the Plaintiff.
COUNT I
(Violation of the TCPA)

33. Plaintiff incorporates Paragraphs one (1) through thirty-two (32).

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34. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for each of
the auto-dialer calls made to Plaintiff` s cellular telephone after Plaintiff notified Defendant that
Defendant was calling the wrong number and to stop calling Plaintiff.

35 . Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each
of the auto-dialer calls made to Plaintiff`s cellular telephone after Plaintiff notified Defendant
that Defendant was calling the wrong number and to stop calling Plaintiff

36. PORTFOLIO RECOVERY ASSOCIATES, LLC repeatedly placed non-emergency
telephone calls to Plaintiff s cellular telephone using an automatic telephone dialing system or
prerecorded or artificial voice without Plaintiff’ s prior express consent in violation of federal
law, including 47 U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against PORTFOLIO RECOVERY ASSOCIATES, LLC for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further violations
of these parts and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

37. Plaintiff incorporates one (1) through thirty-two (32).

38. At all times relevant to this action PORTFOLIO RECOVERY ASSOCIATES, LLC is
subject to and must abide by the law of Florida, including Florida Statute § 559.72.

39. PORTFOLIO RECOVERY ASSOCIATES, LLC has violated Florida Statute §559.72(7)
by willfully communicating with the debtor or any member of her or his family with such
frequency as can reasonably be expected to harass the debtor or her or his family.

4(). PORTFOLIO RECOVERY ASSOCIATES, LLC has violated Florida Statute §559.72(7)
by willfully engaging in conduct which can reasonably be expected to abuse or harass the debtor

or any member of her or his family.

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41. PORTFOLIO RECOVERY ASSOCIATES, LLC has violated Florida Statute §559.72(9)
by claiming, attempting or threatening to enforce a debt when such person knows that the debt is
not legitimate.
42. PORTFGLIO RECOVERY ASSOCIATES, LLC’s actions have directly and proximately
resulted in Plaintiff’ s prior and continuous sustaining of damages as described by Florida Statute
§559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against PORTFOLIO RECOVERY ASSOCIATES, LLC for statutory damages,
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

of these parts and any other such relief the court may deem just and proper.

Respectf y submitte

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J are M. squire
Flo da ar #: 0052284
Mo n & Morgan, P.A.
20 N. Orange Ave., Suite 1600
Orlando, FL 32801
T: (407) 420-1414
F: (407) 245-3485
JLee@ForThePeople.com
J`MLPleadings@ForThePeople.corn
Attorney for Plaintiff

